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 4
                                UNITED STATES DISTRICT COURT
 5
                                       DISTRICT OF NEVADA
 6
     YOUTOO TECHNOLOGIES, LLC,                           Case No. 3:17-cv-00414-LRH-WGC
 7
                                            Plaintiff,   ORDER
 8
            v.
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     TWITTER, INC.,
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                                          Defendant.
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12
            On July 10, 2017, Twitter filed a motion to compel interested party Strategic Gaming
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     Management LLC (SGM) to produce documents pursuant to Federal Rule of Civil Procedure 45.
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     (ECF Nos. 1, 1-2, sealed version at ECF No. 2-1.) SGM filed a response (ECF Nos. 5, 5-1), and
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     Twitter filed a reply (ECF Nos. 7, 7-1 to 7-6, sealed version at ECF Nos. 8, 8-1 to 8-4). The
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     court held a hearing on the motion on August 29, 2017.
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            After hearing argument from counsel, the motion to compel will be held in abeyance.
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     Within fourteen (14) days of the date of this Order SGM is directed to file and serve a
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     declaration from SGM’s ninety-nine percent owner, Grant Lincoln, addressing the following:
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            (1) the steps Mr. Lincoln undertook to search for documents responsive to Twitter’s
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     Rule 45 subpoena;
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            (2) Mr. Lincoln’s practice of purging emails received in his inbox; whether emails were
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     purged following service of the subpoena; if emails were purged after the subpoena was served,
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     when this occurred; and, if emails were purged that relate to Youtoo, whether there is a
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     mechanism to recover those emails that would not subject SGM to undue burden and expense;
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            (3) whether the entirety of documents in Mr. Lincoln’s physical file related to Youtoo
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     were produced, or whether any documents in that file (or those files) were withheld on the basis
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     of any objection.
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            After the court has an opportunity to review Mr. Lincoln’s declaration, it will issue an
 2
     order on Twitter’s motion to compel.
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            IT IS SO ORDERED.
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            DATED: August 29, 2017.
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 6                                              __________________________________________
                                                WILLIAM G. COBB
 7                                              UNITED STATES MAGISTRATE JUDGE
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